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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
EMR/MEF/PP                                           610 Federal Plaza
F. #2023R00737                                       Central Islip, New York 11722



                                                     December 5, 2024

By ECF

The Honorable Nusrat J. Choudhury
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

               Re:    United States v. Michael S. Jeffries et al.
                      Criminal Docket No. 24-423 (NJC)

Dear Judge Choudhury:

              We write on behalf of the government in the above captioned matter, and with the
consent of counsel for all defendants, to respectfully provide a status update in advance of the
December 10, 2024, status conference.

                On October 17, 2024, a grand jury sitting in the Eastern District of New York
returned the above-captioned indictment charging each of Michael S. Jeffries, Matthew C. Smith
and James T. Jacobson with one count of sex trafficking, in violation of 18 U.S.C. § 1591, and
15 counts of interstate prostitution, in violation of 18 U.S.C. § 2422(a) (the “Indictment”). ECF
Dkt. No. 1. On October 22, 2024, the defendants were arrested and made initial appearances in
the relevant district of arrest. ECF Dkt. No.’s 10 (Jacobson), 12 (Smith) and 13 (Jeffries). Since
that date, each of the three defendants have been arraigned on the Indictment. ECF Dkt. No.’s
16 (Jeffries) and 28 (Jacobson); and December 3, 2024 proceeding before Hon. Lee G. Dunst,
U.S.M.J. (Smith).

                On November 12, 2024, the government filed a consent motion for a protective
order related to material the government anticipated producing pursuant to Federal Rule of
Criminal Procedure 16, Title 18, United States Code, Section 3500 (“3500 Material”) and the
government’s general obligation to produce exculpatory and impeachment material as defined by
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny (together, the “Discovery Materials”).
ECF Dkt. No. 33. On November 13, 2024, this Court granted the government’s motion. ECF
Dkt. No. 34.

              On December 3, 2024, the government made its first discovery production in
accordance with Rule 16 of the Federal Rules of Criminal Procedure (the “December 3
Production”). The December 3 Production is approximately 140 GB in size, and includes copies
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of emails, search warrant returns, and various business records. Prior to the next status
conference, the government anticipates producing supplemental discovery, which production
will likely include a substantial amount of 3500 Material. The government understands and will
comply with its continuing obligation to produce exculpatory material as defined by Brady v.
Maryland, and its progeny, and in accordance with the previously issued standing order pursuant
to Federal Rule of Criminal Procedure 5(f).

                 Defense counsel has confirmed that they need additional time to review the
materials in the December 3 Production, as well as the forthcoming supplemental production.
Considering the foregoing, at the upcoming conference, the parties will jointly request that the
Court schedule another status conference in approximately 90 days, and relatedly, respectfully
request the exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), in the
interests of justice, until the date of the next status conference, in order to permit the continued
production of and review of discovery. Defense counsel has conferred with their respective
clients, who indicated that they also consent to the exclusion of time under the Speedy Trial Act.

                                                      Respectfully submitted,

                                                      BREON PEACE
                                                      United States Attorney

                                              By:      /s/
                                                      Erin Reid
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                                                      Philip Pilmar
                                                      Assistant U.S. Attorneys
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cc:    Clerk of the Court (NJC) (by ECF)
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